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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


AMERICAN PRESIDENT LINES, LLC
1667 K Street NW, Suite 400                       Case No.: ________________
Washington, DC 20006

APL MARITIME, LTD.
6110 Executive Boulevard, Suite 410
Rockville, MD 20852

APL MARINE SERVICES, LTD.
6110 Executive Boulevard, Suite 410
Rockville, MD 20852

                               Plaintiffs,        COMPLAINT

               v.                                 DEMAND FOR JURY TRIAL

MATSON, INC.
1411 Sand Island Parkway
Honolulu, HI 96819

MATSON NAVIGATION COMPANY, INC.
555 12th Street, Suite 700
Oakland, CA 94607

MATSON LOGISTICS, INC.
1855 Gateway Boulevard
Concord, CA 94520

                               Defendants.


       American President Lines, LLC, APL Maritime, Ltd., and APL Marine Services, Ltd.

(collectively “APL”), through their counsel, bring this action against Matson, Inc., Matson

Navigation Company, Inc., and Matson Logistics, Inc. (collectively “Matson”) for injunctive

relief, treble damages, and costs of suit under the antitrust laws of the United States for violations

of Section 2 of the Sherman Act, 15 U.S.C. § 2. Based on personal knowledge and information

and belief, APL alleges as follows:



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                                          Introduction

       1.      This is a case about Matson’s campaign of anticompetitive tactics to exclude APL

from the markets for container cargo shipping services between the mainland United States

(“United States” or “U.S.”) and Guam so that Matson can achieve and maintain its unlawful

containership monopoly power ex the United States mainland and monopoly profits in these

markets.

       2.      Matson became the dominant container cargo shipper between the United States

and Guam in 2011 when its only existing competitor, Horizon Lines, Inc. (“Horizon”), withdrew

and was then acquired by Matson. Once unchallenged, and with both practical and legal barriers

restricting carriers from servicing Guam, Matson repeatedly hiked its rates for container cargo

shipping services with Guam to the detriment of U.S. shippers and residents of the island.

       3.      APL began its current containership service between the United States and Guam

in December 2015, after the U.S. Maritime Administration (“MARAD”) approved the enrollment

of APL’s Guam service vessel in the Maritime Security Program (“MSP”). While APL initially

provided fortnightly (every two weeks) service to Guam, APL eventually added a second vessel

and enhanced its services during 2017-18 to provide weekly direct calls to Guam.

       4.      With over 170 years of experience as a container cargo carrier, APL’s increasing

services with Guam presented a real and positive presence for U.S. shippers and island residents

who had been victimized by Matson’s abusive power. APL’s growing presence also jeopardized

Matson’s monopoly control and profits, particularly after APL enhanced its services to Guam.

Reacting to APL’s effort to compete, Matson’s chief executive threatened APL with an “axe fight”,

if it continued with its Guam services.




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       5.      Matson is delivering on that threat with a campaign of anticompetitive tactics that

is shocking in its scope, audacity, and disregard for the law. These tactics began with Matson

disparaging APL’s Guam services, and escalated to an array of anticompetitive actions by Matson

to exclude APL from the U.S./Guam markets, as explained more fully below.

       6.      In admitted acts of retaliation for APL entering the U.S./Guam markets, Matson

abruptly terminated a long-standing Connecting Carrier Agreement (“CCA”) with APL for

services in Alaska, declined to renew APL’s shop and office lease at Pier II, refused APL access

to terminal facilities needed by its tug and barge provider in Kodiak, and then terminated a shared

tug charter arrangement with APL. This misconduct was contrary to Matson’s own economic

interests and caused significant financial harm to both Matson and APL.

       7.      Matson also launched a scheme to force shippers into unlawful exclusive dealing

and bundled pricing arrangements. In addition to Guam, Matson has been the dominant supplier

of container cargo shipping services between the United States and Hawaii markets. Matson has

exploited its Hawaii dominance to coerce shippers to both Hawaii and Guam into exclusive dealing

and bundled pricing arrangements covering both markets. Because most shippers need services to

both markets – and because most shippers to Guam also ship a much larger cargo volume to Hawaii

– this scheme has been especially effective in economically forcing shippers to do business with

Matson in the Guam markets and substantially foreclosing APL from competing in the markets.

       8.      Matson also unlawfully conditioned or “tied” shipping services as part of its

exclusionary scheme. As a condition to continue shipping on favorable terms in other markets

where Matson is dominant, Matson, upon information and belief, requires that shippers purchase

its container cargo shipping services in the U.S./Guam markets, or at least to refrain from shipping




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with APL. This further restricts the services available to shippers and amplifies the foreclosure of

competition in the U.S./Guam markets.

       9.      In addition, Matson has deployed an offensive of predatory threats to coerce

shippers not to do business with APL. For instance, Matson threatened freight forwarders with

lowering the rates to their direct competitors shipping in the Hawaii and Guam markets if the

freight forwarders dared to ship container cargo to Guam with APL. Similarly, Matson threatened

to impose disfavored rates and treatment on shippers to both Hawaii and Guam if they gave

container cargo to APL in the U.S./Guam markets.

       10.     Matson actually followed through on its unlawful threats to shippers. APL

understands Matson significantly increased rates specifically to its shippers that placed cargo with

APL, and Matson refused to promise on-time deliveries for shippers that booked cargo with APL.

Matson’s threats and punishment of shippers further disciplined them from doing business with

APL, hindering its ability to compete fairly in the U.S./Guam markets.

       11.     Along with its sustained offense targeting of APL, Matson sought to negotiate the

removal of APL “iron” from Guamanian waters. During 2017-18, Matson’s chief executive

proposed that APL place its Guam shippers’ container cargo as “slots” on Matson’s vessels, in

exchange for APL terminating its Guam services with its own vessels. Matson’s proposed terms,

if accepted, would have effectively allocated the U.S./Guam markets to Matson’s control,

restricted APL’s competition to non-threatening levels, and further harmed U.S. shippers and

residents of Guam.

       12.     As a result of Matson’s misconduct, APL has suffered substantial losses and its

ability to compete freely and succeed on the merits of its container cargo shipping services between

the United States and Guam has been thwarted. APL has been deprived of those opportunities and




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profits, and has suffered additional harm to its competitiveness, goodwill, and market

capitalization. Matson’s conduct has not only harmed APL, it also has caused substantial harm to

the competitive process as well as to consumers of container cargo shipping services who have

been deprived of the benefits of competition.

       13.     Matson’s anticompetitive conduct constitutes an attempt to achieve and to maintain

its monopoly power in the markets for container cargo shipping services between the United States

and Guam in violation of Section 2 of the Sherman Act.

       14.     APL brings this suit to stop the anticompetitive conduct undertaken by Matson in

violation of Section 2 of the Sherman Act and to recover substantial damages for injuries incurred

as a result of such conduct.

                                                Parties

      15.      Plaintiff American President Lines, LLC is an international ocean shipping

company organized under the laws of the State of Delaware. American President Lines, LLC’s

headquarter offices are located in Washington, DC, where its management determines strategies

and oversees the company’s operations and its employees perform trade, sales, pricing, and

customer service functions with respect to containerized shipments with Guam and elsewhere.

With its subsidiaries, American President Lines, LLC operates a U.S.-flag ocean container vessel

fleet and provides transportation services to major U.S. ports and inland cities through its

intermodal network that links the U.S. East Coast, West Coast, and Gulf Coast. APL has serviced

Guam with the transportation of container cargo during the times pertinent to this Complaint.

      16.      Plaintiff APL Maritime, Ltd. is organized under the laws of the State of Delaware,

with its headquarters in Rockville, Maryland and operations in other states. APL Maritime, Ltd.




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acts as the ship manager and operator for the APL U.S.-flag ocean vessel fleet that provides

container transportation between the United States and Guam among other service routes.

      17.      Plaintiff APL Marine Services, Ltd. is organized under the laws of the State of

Delaware with its headquarters in Rockville, Maryland and operations in other states. APL Marine

Services, Ltd. manages the crew members and operates the APL U.S.-flag ocean vessel fleet that

provides container transportation between the United States and Guam among other service routes.

       18.     Defendant Matson, Inc. is a corporation organized and existing under the laws of

the State of Hawaii, with headquarters in Honolulu and a corporate office in Oakland, California.

Matson, Inc. is an international ocean shipping company and a Jones Act carrier and has provided

container transportation between major U.S. ports and inland cities through its intermodal network

to Hawaii, Guam, Alaska, and other locations during the times pertinent to this Complaint. Matson,

Inc. and its subsidiaries provide substantial volumes of shipping services to federal government

customers based in Washington, DC and they have been directly involved in the anticompetitive

conduct alleged herein.

       19.     Defendant Matson Navigation Company, Inc. is a corporation organized and

existing under the laws of the State of Hawaii, with its corporate office in Oakland, California.

Matson Navigation Company, Inc. is a subsidiary of Matson, Inc. and has provided container

transportation between major U.S. ports and inland cities through its intermodal network to

Hawaii, Guam, Alaska, and other locations during the times pertinent to this Complaint.

       20.     Defendant Matson Logistics, Inc. is a corporation organized and existing under the

laws of the State of Hawaii, with its corporate office in Concord, California and employees or

agents in other states where Matson Logistics, Inc. solicits sales of warehousing, distribution,




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intermodal ocean shipping, and freight management services. Matson Logistics, Inc. is a wholly-

owned subsidiary of Matson Navigation Company, Inc.

                          Jurisdiction, Venue, and Interstate Commerce

       21.      This Court has subject matter jurisdiction over this matter pursuant to Sections 4

and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, and 28 U.S.C. §§ 1331 and 1337.

       22.      Matson is subject to personal jurisdiction in this judicial district pursuant to Section

12 of the Clayton Act, 15 U.S.C. § 22, because Matson may be found and transacts business in this

district.

       23.      Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b) and (c) and

Section 12 of the Clayton Act, 15 U.S.C. § 22, because Matson transacts business, can be found,

and resides within this district, and has availed itself of the courts in this judicial district.

       24.      No other forum would be more convenient for the parties and witnesses to litigate

this case. Matson solicits, markets, and sells container cargo shipping services to Guam and Hawaii

from major U.S. cities, including for customers that are residents in this judicial district.

       25.      Matson moves substantial volumes of cargo across state lines. Matson is engaged

in and its activities substantially affect interstate commerce.

                                Background on Shipping and Guam

       26.      Container ocean shipping from the United States and various of its possessions to

other U.S. ports and certain U.S. possessions is restricted to Jones Act vessels, with narrow

exceptions. The Jones Act, enacted in 1920 and codified as 46 U.S.C. § 55101 et seq., provides

that “a vessel may not provide any part of the transportation of merchandise . . . between points in

the United States to which the coastwise laws apply” unless the vessel is built in the United States




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and owned and crewed by U.S. citizens, or else an exception applies. 1 “[P]oints in the United

States” include certain locations outside the continental United States, such as Hawaii, and only

Jones Act vessels may transport cargo between the United States and Hawaii. Jones Act vessels

are significantly more costly to build and operate because of the U.S. citizen requirements. 2

      27.      Only U.S.-flag vessels are permitted under U.S. laws to transport cargo, including

cargo transported in containers, between the United States and Guam. Under U.S. laws, APL U.S.-

flag vessels may transport cargo between Guam and other U.S. ports.

      28.      U.S. laws generally apply to Guam as a territory of the United States. Guam is an

island in the Western Pacific Ocean with an attractive deep-water port that annually accepts

thousands of containers from the United States on behalf of shippers. Many of those containers are

trans-shipped to other destinations in the Pacific Ocean such as Saipan, Palau, and the Federated

States of Micronesia. The U.S. government also maintains military installations and supporting

facilities on Guam which depend on container cargo shipping services.

      29.      Until 2011, Guam received container cargo services by Matson and Horizon. Both

Matson and Horizon were Jones Act carriers and both companies called Hawaii as well as Guam.

When Horizon serviced Guam, Matson and Horizon shared the container cargo between the United

States and Guam on a roughly 50/50 basis.

      30.      In 2011, Horizon withdrew from servicing Guam. Matson subsequently acquired

Horizon and Matson became the only provider of container cargo shipping between the United

States and Guam. With a monopoly on container cargo services, Matson significantly raised rates.

Matson’s rates for 40-foot containers, for example, increased to $5,500 by 2016. Similarly, by



1
 46 U.S.C. §55102(b).
2
 See Congressional Research Service Report: Shipping Under the Jones Act: Legislative and
Regulatory Background at p. 3.



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2016 Matson’s rates for refrigerated 40-foot containers from the United States to Guam had risen

to $7,408.

        31.     The MSP is the latest iteration of a longstanding federal effort to maintain a fleet

of privately-owned vessels that can assist the United States in times of war or other emergencies.

Historically, all MSP vessels have been authorized to transport cargo to and from Guam.

Companies enrolled in the MSP are not, however, allowed to call Hawaii with any vessel unless

they are also Jones Act carriers. 3

        32.     In 2015, APL secured approval for an MSP vessel that would call Guam on a

fortnightly basis. APL expected that its service would inject much needed competition into the

U.S./Guam markets, providing major benefits to the Guam shippers and economy, as well as to

the U.S. military. Subsequently, in December 2016, APL received approval for a second MSP

vessel that would call Guam, allowing for weekly service. Since APL entered the U.S./Guam

markets, Matson dropped its rates more than 50% for some lines of container cargo.

        33.     Matson engaged in aggressive lobbying efforts to eliminate competition from U.S.-

flag MSP vessels. In 2018, following these efforts, U.S. law was revised, through the 2018

National Defense Authorization Act (“NDAA”), to eliminate the right of U.S.-flag vessels enrolled

in the MSP to operate in the transportation of cargo between points in the United States and its

territories, including Guam, with the exception of vessels already operating under an MSP

agreement prior to enactment of the NDAA and replacement vessels permitted under such existing

agreements. 4




3
    See 46 U.S.C. § 53106(e).
4
    See 46 U.S.C. §53105(a)(1)(A) and (B).



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      34.      At present, there are only two U.S.-flag container vessels enrolled in the MSP that

operated between U.S. ports and Guam, both operated by APL. Other than APL’s MSP vessels,

servicing the Guam markets is legally and commercially viable for Jones Act vessels, and Matson

is the only Jones Act provider of containership services between U.S. ports and Guam.

                            Relevant Markets and Market Power

       35.     As explained fully below, the broadest product market relevant to this action is

container cargo shipping services. The product markets consist of commercial and non-

commercial (primarily government) container cargo services. There also are narrower product

market lines in which to evaluate Matson’s conduct, consisting of dry and chilled or refrigerated

cargo containers.

       36.     Also as explained fully below, the two geographic markets relevant to this action

are the shipping routes between (a) the United States and Guam and (b) the United States and

Hawaii. There also are narrower geographic markets in which to evaluate Matson’s conduct,

consisting of each departure-destination route between U.S. ports and Guam and Hawaii such as

Oakland-Guam or Seattle-Hawaii.

       37.     Matson also has monopoly power in the United States and Guam container cargo

shipping services markets. Beginning in 2011, Matson provided approximately 100% of the

container cargo shipping services between the United States and Guam, and even after APL’s entry

Matson has held at least 70% of the container cargo shipping services between the United States

and Guam. Matson also has monopoly power in the United States and Hawaii container cargo

shipping services markets. Only one other small Jones Act carrier, The Pasha Group (“Pasha”),

services Hawaii. Since APL’s entry in the U.S./Guam markets, Matson has provided at least 70%

of the container cargo shipping services between the United States and Hawaii.




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                        Matson’s Conduct in Violation of Antitrust Laws

         38.     When Horizon withdrew from its Guam service in 2011, and was later acquired by

Matson, Matson became the only container cargo carrier between the United States and Guam.

APL entered the U.S./Guam markets in December 2015 with a fortnightly service from ports in

Oakland and Los Angeles.

         39.     Matson’s initial reaction to APL’s entry was to reduce its supra-competitive prices

somewhat on a few cargo lines or shipments, consistent with Matson not initially deeming APL’s

entry as a significant threat to Matson’s monopoly power. Once APL enhanced its service between

the United States and Guam in 2017 to a weekly call and opened an office in Guam, Matson,

instead of competing on the merits, embarked on a campaign of anticompetitive, unlawful

exclusion, and raising costs to APL in these markets, as well as retaliating in other markets.

         40.     Matson introduced a so-called “loyalty program” under which (a) shippers that use

Matson for 90% of their container cargo shipments with Hawaii or Guam receive a 20% “first-

dollar” discount on that route, and (b) shippers that use Matson for both 90% of their shipments

with Hawaii and 90% of their shipments with Guam receive a 25% percent discount on both routes.

A U.S./Guam customer with shipments to Hawaii who ships exclusively on Matson thus receives

not only a higher discount on its Guam shipments directly, but also a bonus of a larger discount on

its shipments to Hawaii.

         41.     Matson also has employed variations of the loyalty program when effective. These

variations include, upon information and belief, obtaining volume commitments with shippers in

either the Guam or Hawaii markets, using long-term contracts with large customers shipping to

Guam, or threatening retaliation on the U.S./Hawaii trade if a shipper used APL for shipping Guam

cargo.




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       42.     Because the U.S./Hawaii trade is five to six times larger than the U.S./Guam trade,

with most Guam shippers shipping much larger volumes with Hawaii, Matson’s loyalty program

and “bonus” payment scheme effectively forecloses APL from competing for those shippers in the

U.S./Guam markets. They cannot economically or reasonably use APL services for container cargo

shipments with Guam, even if offered at a substantial discount off Matson’s stand-alone rates,

because that would risk losing the additional discount on their much larger U.S./Hawaii shipments.

       43.     Matson has enforced its various loyalty programs through threats and punishments.

On information and belief, Matson notified shippers that if they placed U.S./Guam container cargo

with APL, those shippers would be punished by losing the rates or services accorded to loyal

Matson shippers of cargo to Hawaii. Some customers informed APL that after they placed cargo

with APL, Matson charged those customers who also needed to ship other cargo with Matson rates

from $1,500 to $2,000 higher than APL’s rates and would not promise on-time delivery.

       44.     As part of maintaining its market power and independent of the loyalty program,

Matson has also threatened customers of container cargo shipping between the United States and

Guam with higher rates and unfavorable service on Hawaii and Guam shipments, if cargo to Guam

were awarded to APL. Upon information and belief, in or about 2018, during its multi-year contract

bidding process, one of the world’s largest automobile manufacturers rejected APL’s offer of a

lower rate and awarded its Guam container cargo to Matson because it threatened the shipper’s

other cargo to Hawaii with higher rates and unfavorable service.

       45.     Matson also complained to one of the world’s largest big-box retailers after it

agreed to ship even a small percentage of its container cargo between the United States and Guam

with APL. Although Matson told the big-box retailer that APL’s attempt to enter the U.S/Guam




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markets would harm the shipper, upon information and belief, Matson’s actual concern was that

APL’s entry would dampen Matson’s continued ability to collect monopoly rates.

       46.     APL tried to compete with Matson’s loyalty program by offering rate reductions to

retain and to attract some container cargo for freight forwarders and large beneficial cargo owners

(“BCOs”) that shipped in both the U.S./Guam and U.S./Hawaii markets. 5 These large shippers

were unable to accept APL’s offers for U.S./Guam shipments due to the drastic cost increases they

would incur if their substantially larger U.S./Hawaii shipments lost Matson’s “bonus” discount

tied to their using Matson for Guam, or due to multi-year agreements based on committed volumes

with Matson. This tactic has enabled Matson to avoid the rate reductions that would otherwise

have been necessary to compete with APL and keep those U.S./Guam customers.

       47.     Freight forwarders also declined to do business with APL for their U.S./Guam

shipments, even when offered discounted rates, because, among other things, Matson threatened

them with repercussions in the U.S./Hawaii markets. For example, a freight forwarder indicated

that Matson threatened to lower its rates to that freight forwarder’s direct competitors in the

U.S./Hawaii markets if it shipped its Guam cargo with APL.

       48.     Matson has used unlawful customer coercion or tying arrangements to exclude APL

from the U.S./Guam markets. As with its various loyalty programs, Matson, upon information and

belief, has entered into agreements with container cargo shippers, whereby Matson conditions the

availability of shipping services in the U.S./Hawaii markets, or discounts, rebates, and/or other




5
  Shippers that purchase container cargo services include BCOs and freight forwarders (which also
include NVOCCs). BCOs ship cargo for their own use, such as retail firms and grocery chains.
Freight forwarders do not ship for their own benefit, but rather act as intermediaries, providing
ocean freight shipping in addition to other services, such as arranging for land transportation and
delivery.



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favorable shipping terms in those markets, on shippers eliminating or drastically curtailing their

Guam dealings with APL.

       49.     Alternatively, as a condition to shipping services or receiving favorable terms in

the U.S./Hawaii markets where Matson is dominant, and APL cannot compete by law, Matson,

upon information and belief, requires that shippers purchase Matson’s shipping services between

the U.S./Guam markets, or refrain from purchasing U.S./Guam container cargo shipping services

from APL

       50.     The intent and effect of each aspect of Matson’s loyalty program, exclusive dealing,

bundled pricing, and tying scheme is to exclude competitive alternatives by conditioning customer

sales of shipping services to drive U.S./Guam shipping business to Matson and away from APL.

As a result, APL is excluded from competing for at least 40% to 50% or more of the “contestable”

container cargo shipping services in the U.S./Guam markets, 6 upon information and belief.

       51.     The effect of Matson’s exclusivity arrangements, however, is greater. The future

effect of Matson’s arrangements is to preempt or exclude competition from the U.S./Guam

markets. Matson can leverage its protected power in the U.S./Hawaii markets (70% or more) to

continue to induce, tie, threaten, or coerce the many shippers that also ship to Guam to avoid

business with APL. Matson also has exploited its market power in both the U.S./Hawaii and

U.S./Guam markets to continue to threaten, punish, and hammer shippers that do business with




6
  From its entry, APL was not in position to contest or compete with Matson on all the various
lines of container cargo in the U.S./Guam trade. For example, APL’s transit time from the U.S.
West Coast to Guam prevented it from effectively competing for the chilled reefer container
business line, although APL could still compete in the frozen reefer and dry cargo container lines
because the transit time on APL’s route from Los Angeles to Guam was not critical for frozen or
dry cargo. APL was also unable to compete for container cargo departing the Pacific Northwest
(Seattle) to Guam. APL, however, has had the ability to compete effectively for the majority (70%)
of container cargo in the U.S./Guam markets.



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APL in the U.S./Guam markets. With Matson’s willingness to abuse its dominance to interfere

with APL’s ability to compete on the merits and pose a threat to Matson’s dominance, the impact

of Matson’s exclusivity arrangements is, and will continue to be, amplified beyond the present

share of foreclosed competition.

       52.     APL attempted to lessen or avoid the exclusionary effect of Matson’s conduct.

Because Jones Act restrictions prevent APL from entering the U.S./Hawaii markets, APL proposed

a joint operation agreement with a small Jones Act carrier in those markets. This business

relationship would have enabled APL to neutralize Matson’s threats or match its ability to carry

the U.S./Hawaii cargo of its customers that also have Guam shipments. The small carrier declined

to partner with APL, however, due to concern of adverse reaction by Matson.

       53.     Matson’s exclusionary conduct directed at the U.S./Guam markets includes

retaliation against APL in Alaska which began shortly after APL enhanced its Guam service. In

December 2017, Matson precipitously terminated the CCA that it had with APL for years. The

CCA involved APL’s use of Matson vessels to transport cargo for shippers in Anchorage, Akutan,

and Kodiak to Dutch Harbor, where APL could load the cargo on to an APL vessel for shipment

to Asia. The Kodiak harbor facilities could not support the size of the vessel APL used on the

service. Following termination, APL was forced to find alternative service, ultimately with a tug

and barge carrier that added capacity to its service to transport the cargo from Kodiak to Dutch

Harbor. This alternative service was longer in transit time and somewhat more costly.

       54.     When it became apparent that APL could maintain service despite Matson’s

termination of the CCA, Matson further retaliated by refusing to allow the barge company to use

the Matson-leased terminal to transship APL empties and laden containers. This caused severe

stevedoring problems for APL, and forced it to find temporary terminal facilities to handle its




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connecting carrier’s barges through the fourth quarter of 2018, after which time the City of Kodiak

approved APL’s service agreement for a facility. When APL solved the terminal facility issue,

Matson retaliated again, this time by terminating its long-term lease for a shop and office at Pier

II and a tug charter arrangement with APL in Dutch Harbor.

       55.     When APL complained to Matson management in Alaska about these irrational and

costly actions, Matson informed APL that it had brought it on itself by calling Guam. Matson’s

retaliation was not limited to Guam and occurred wherever Matson could injure APL.

       56.     Prior to Matson’s termination of the CCA, APL moved substantially more than

50% of its inter-Alaska cargo on Matson vessels, APL used Matson’s terminal services at Kodiak,

leased a shop and office at Pier II, and APL shared the costs of a tug with Matson. As a result of

the Matson’s pattern of retaliation, APL lost millions of dollars due to increased costs. Matson also

lost an estimated $8 million annually since 2018 for its freight and terminal revenue from APL

and the shared costs for the tug. The actions taken by Matson were patently against its own

economic self-interest (except as a means to punish APL for competing in the U.S./Guam markets)

and caused substantial loss to Matson as well as to APL.

       57.     Matson also sought to avoid competition with APL by pursuing an allocation of the

U.S./Guam markets to Matson. Commencing in mid-2017 and on at least an additional occasion

in June 2018 at a lunch with Matson’s chief executive, Matson offered APL container cargo “slots”

on Matson’s vessels, if APL would stop calling Guam with its own vessels. The offer in 2017 was

for 90 slots per week subject to a maximum of 60 slots from Long Beach, 30 slots from Oakland,

and 15 reefer slots for the U.S. West Coast. The offer required APL to use Matson’s containers

and other equipment. Matson made clear that its offer was intended to remove APL “iron” from

Guamanian waters.




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       58.     Matson’s offer, if accepted, would have imposed an artificial limit on APL’s

operations and growth for the U.S./Guam markets. The rates offered by Matson were higher and

would have required APL to restrict its competition. In one of these offers, Matson also offered to

accept slots to Okinawa on APL vessels and cease calling it with Matson vessels. The slot offers

were a pretext to restrict APL's competition to non-threatening levels and would have led to the

elimination of competition in the U.S./Guam markets. In the alternative, Matson promised to

continue exclusionary and retaliatory conduct. In the words of Matson’s chief executive, the “axe

fight” would continue.

       59.     Matson also worked to change the law to its advantage to dampen the threat of

meaningful competition in Guam, reflected in its efforts behind the 2018 passage of NDAA.

Matson’s successful lobbying effort to enact a revision in U.S. law to exclude U.S.-flag MSP

vessels from calling on Guam after 2018 also restricts the ability of other U.S.-flag non-Jones Act

vessels to enter the U.S./Guam markets. For example, a new U.S.-flag entrant to the MSP operating

under an agreement post-dating the 2018 NDAA may not call Guam under MSP. Matson’s

lobbying effort demonstrates Matson’s clear intent to exclude all other carriers and recapture and

retain its unchallenged monopoly in container cargo shipping services between the United States

and Guam.

       60.     The effectiveness of Matson’s anticompetitive conduct is demonstrated by recent

experience in the U.S./Guam markets. Prior to 2011, Horizon was able to compete effectively in

the U.S./Guam markets because it also called Hawaii. Matson was unable to use Hawaii threats,

bundling, or conditioning to harm competition, because shippers could refuse those threats or

bundles/conditions by switching their Hawaii cargo to Horizon. Because APL is not allowed under

U.S. law to call Hawaii from the United States, nor does any carrier other than Matson that also




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serves the U.S./Guam markets, Matson’s present threats, bundling, conditioning and other tactics

involving Hawaii have a substantial exclusionary impact on APL. They block effective

competition in the U.S./Guam markets, as shippers cannot practicably risk losing Hawaii services,

foregoing lower prices for a bundled discount tied to Hawaii, or incurring higher prices for Hawaii

shipments as punishment. This has compelled shippers to continue business with Matson for Guam

shipments.

          61.     Matson continues to have substantial monopoly power in container cargo shipping

services between the United States and Guam. Matson’s share of these markets still exceeds 70%

of such overall container shipment volume. The most relevant metric, however, is that Matson

retains an even larger share of the “contestable” U.S./Guam lines and shipments for which APL

has the capacity and service to compete. 7 Absent Matson’s anticompetitive conduct, many more

of those shippers would have benefited from APL’s entry and expansion.

          62.     Matson also continues to have monopoly power in the container cargo shipping

services between the United States and Hawaii. Matson’s share in these markets exceed 70%.

Pasha’s presence in Hawaii has not prevented Matson from charging supra-competitive rates for

container cargo shipping between the United States and Hawaii. Matson’s power in the

U.S./Hawaii markets has been leveraged as a powerful and effective threat to shippers who might

wish to switch to APL to take advantage of its lower rates to Guam, but cannot risk disruption of

their container cargo business with Hawaii.

          63.     Matson’s power in the U.S./Guam and U.S./Hawaii markets has been protected by

substantial regulatory barriers to entry in these markets, including legal restrictions imposed by

the Jones Act and restrictions on market access by MSP participants. In addition, the high multi-



7
    See fn. 6 and related text, supra, regarding “contestable” products.



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million dollar costs of purchasing and maintaining an ocean container transport fleet and

supporting equipment and facilities further bars carriers from entering these markets.

       64.     Any carrier that could hypothetically clear the U.S. legal and start-up cost barriers

to the U.S./Guam and U.S./Hawaii markets would then face a high ratio of fixed to variable costs

and would require a minimum market share to survive. These hypothetically successful entrants

would also have to develop a customer base of sufficient magnitude to support the high costs of

entry. Matson’s loyalty program and long-term and volume commitment conditions with shippers,

and other anticompetitive conduct alleged herein, upon information and belief, prevents an entrant

from attracting a meaningful number of shipping customers to overcome these barriers.

       65.     Customers and residents in Hawaii and Guam are dependent on container cargo

shipping services for critical goods and sustenance. This is acknowledged in a 2021 Matson

investor presentation that proclaimed it provides “critical supply lifelines to economies throughout

the Pacific.” This customer critical dependency further deters shippers and customers from

switching from Matson, entrenches its market position, and further protects its power.

       66.     Matson’s bundling, conditioning and tying of the Guam and Hawaii markets is

motivated by the desire to maintain its monopoly power in the U.S./Guam markets, to the exclusion

of APL. This is confirmed by Matson not offering bundled discounts or conditioning Guam

services before the APL entry in Guam or in other markets where APL is not present, and by

Matson maintaining supra-competitive rates in the narrower markets where APL does not compete

such as containerized cargo originating in the Seattle port or for the chilled container cargo

shipments with Guam.

       67.     Matson’s anticompetitive conduct has foreclosed APL from a substantial share of

the markets for container cargo shipping services between the United States and Guam. In a market




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free of such anticompetitive conduct, APL would have had substantially greater sales and a market

share closer to that once enjoyed by Horizon. Matson’s anticompetitive conduct has caused, and

continues to cause, APL to lose revenues and profits in an amount to be determined at trial.

       68.     If the effect of Matson’s conduct were to force APL to exit or reduce service in the

U.S/Guam markets, Matson can be expected to maintain or raise its rates to full monopoly levels,

as it did following the exit of Horizon.

       69.     A reduction or end to APL’s service with Guam would have severe anticompetitive

effects on non-commercial (government) container cargo, and particularly military shipments to

Guam, because non-commercial container cargo is carried on the same vessels that also carry

commercial container cargo. A withdrawal by APL from the U.S./Guam markets will result in

Matson imposing substantial rate increases in the non-commercial container cargo markets, as it

did when Horizon withdrew.

       70.     Matson’s efforts to exclude and foreclose APL in the U.S./Guam markets has

distorted the proper functioning of competitive forces in the markets and has hindered APL’s

ability to compete vigorously for customers in the markets. As a result, customers of U.S./Guam

container cargo shipping services have been deprived of choice of providers competing freely.

This has decreased competition substantially to the detriment of consumers in Guam who rely

upon container shipments and shippers in the United States who are dependent on container

shipping services for the delivery of goods.

       71.     Currently and for the foreseeable future, given both commercial and legal restraints,

only Matson and APL under U.S. law may transport container cargo between Guam and U.S. ports

on a regular basis. If for some reason, APL left the Guam trade, Matson would be the only

remaining ocean carrier providing container cargo service between Guam and the United States.




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APL’s exit would eliminate any actual competition and allow Matson to fully regain the monopoly

it had prior to APL’s re-entry into the United States to Guam trade in 2015 – without even the

practical threat of entry by another carrier that might constrain Matson’s conduct.

                                           Count One

       72.     APL repeats and realleges paragraphs 1 through 71 as set forth herein.

       73.     Matson has monopolized and maintained its monopoly of the relevant markets in

violation of section 2 of the Sherman Act.

       74.     The broadest product market relevant to this action is container cargo shipping

services. The product markets consist of both commercial and non-commercial (primarily

government) container cargo services. There also are narrower product lines in which to evaluate

Matson’s conduct, consisting of refrigerated reefer containers, frozen or chilled reefer containers,

or non-ventilated (dry) containers for commercial and non-commercial cargo.

       75.     It is standard commercial practice in the United States and internationally to ship

cargo in large, heavy-duty containers for ocean and intermodal transportation. Shipping containers

are standard in size, usually 20- or 40- or 45-foot lengths, making them compatible with carriers

and ports that handle containers. Most container ocean vessels are capable of carrying standard

size containers, whether dry, refrigerated, or chilled, making any container vessel a potential

substitute for any other in carrying containers for shippers.

       76.     Government regulators, including MARAD and U.S. Homeland Security,

categorize container shipping as distinct from other forms of ocean transportation such as tanker

ships. Matson’s SEC reports also identify container shipping services as distinct from the other

forms of trans-ocean shipping such as airliners, barges, and tanker vessels. These other forms of

shipping are not reasonably interchangeable with container cargo shipping because they are either




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far more expensive (e.g., airlines), slower and limited in range (e.g., barges), or physically

incapable of transporting a range of goods (e.g., tankers).

       77.     Commercial container cargo shipping does not include non-commercial cargo

services. Non-commercial cargo is cargo that is owned by and/or procured for the U.S. government

including the Department of Defense, government agencies and contractors under U.S.

government contracts or Task/Work Orders and shipped under government-issued bills of lading,

under the laws and regulations relating to government contracts, or by the shipper-owned or

shipper-chartered vessels. Commercial container cargo rates are not constrained by non-

commercial cargo rates, and a sole provider of commercial container shipping could impose

monopoly prices without also having a monopoly over non-commercial container shipping.

Matson has more than 70% of the non-commercial container cargo shipping in each of the

U.S./Guam and U.S./Hawaii markets.

       78.     Purchasers of container cargo shipping would not respond to even a large price

increase for these services by switching their cargo to other potential providers of trans-ocean

cargo shipping such as airliners, barges, or tankers, or non-commercial carriers. In fact, Matson

annually raised its rates substantially after Horizon had withdrawn in 2011 from the U.S./Guam

markets, without significant switching by shippers to other forms of transportation or to other

origins and destinations, indicating both the presence of monopoly power and a relevant market in

which that monopoly power is being exerted.

       79.     There also are narrower product markets in which to evaluate Matson’s conduct.

Reefer containers are a distinct line of container because they carry certain atmosphere- and

temperature-sensitive products (e.g., fruits, vegetables). As explained herein Matson charges

higher rates for chilled reefer container shipping services, compared to other lines of container




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shipping (e.g., dry containers), without causing shippers to switch to APL, which offers frozen but

not chilled reefer container lines of service. Matson’s ability to charge a higher price for chilled

reefer cargo indicates that it is a separate product market.

       80.     Matson’s ability to control prices in, and exclude competition from, container cargo

shipping services, as described herein, confirms that it has monopoly power in a relevant market.

       81.     The geographic markets relevant to this action are the separate shipping routes

between the United States and Guam and the United States and Hawaii. Containers that originate

anywhere in the United States can be transported to ports – mostly, if not always, on the U.S. West

Coast – and then transferred to ocean container vessels for transportation to Guam or Hawaii.

       82.     Government regulators and industry participants recognize the United States to

Guam and Hawaii as two separate and distinct shipping routes. Shippers, including Matson, offer

different rates for service between U.S. origins and Guam and Hawaii. Similarly, the Jones Act

defines shipping services between ports in the United States and Guam and Hawaii. Matson’s SEC

reports also identify its U.S. West Coast to Guam and Hawaii services as distinct from the other

geographic areas serviced by the company.

       83.     For customers moving cargo from the United States to Guam or Hawaii, other

geographic originations or destinations are not reasonably interchangeable, and customers would

not substitute other originations or destinations in response to even large price increases for

shipping services between the United States and Guam or Hawaii.

       84.     Matson is the only ocean carrier transporting container cargo from the United States

to both Guam and Hawaii, and Matson is the only ocean container carrier that has monopoly power

in the United States (from any origin) to both Guam and Hawaii.




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       85.      There also are narrower geographic markets in which to evaluate Matson’s conduct.

Most if not all container cargo from the United States to Guam or Hawaii has departed from ports

in Los Angeles, Oakland, or Seattle during times relevant to this complaint. Each of these departure

and destination routes for container cargo shipments constitutes a narrower relevant geographic

market.

       86.      Depending on where within the United States container shipments originate, certain

U.S. ports may be closer in distance, easier to access, or less expensive for container shipments to

Guam or Hawaii than other alternative routes, precluding container shipping options on different

routes from meaningfully competing with each other. To illustrate, the Seattle/Guam route would

not be a reasonable substitute for the Los Angeles/Guam route for containerized shipments of

products produced in Southern California, since shippers would not be expected to switch to

shipping to Guam via Seattle in response to a small but significant increase in the price of shipping

to Guam from Los Angeles.

       87.      Each of these container shipping routes – Los Angeles, Oakland, and Seattle to

Guam and to Hawaii – constitutes a narrower geographic shipping market because a monopolist

of container shipping from Seattle to Guam could, for example, charge supra-competitive prices

on that route without also having a monopoly over container shipping to Guam from Los Angeles

or Oakland.

       88.      Matson’s ability to control prices in, and exclude competition from, the shipping

routes between the United States and Hawaii and Guam, as well as the shipping routes between

Los Angeles, Oakland, and Seattle and Guam and Hawaii, confirms that each is a separate and

distinct geographic market




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       89.     Through the conduct alleged above, and other conduct likely to be revealed in

discovery, Matson has willfully and unlawfully maintained and enhanced its monopoly power in

violation of Section 2 of the Sherman Act. Matson’s monopoly power has been stable or has

increased as a result of Matson’s anticompetitive conduct. Matson’s anticompetitive conduct as

described herein constitutes exclusionary conduct within the meaning of Section 2 of the Sherman

Act.

       90.     As a result of Matson’s conduct, and the harm to competition caused by the

conduct, APL has suffered substantial and continuing injuries.

                                         Count Two

       91.     APL repeats and realleges paragraphs 1 through 71 and 74 through 88 as set forth

herein.

       92.     Matson has attempted to monopolize the relevant markets in violation of Section 2

of the Sherman Act.

       93.     Matson is violating Section 2 of the Sherman Act by attempting to implement the

anticompetitive conduct set forth above with the specific intent to monopolize the relevant

markets. Matson’s anticompetitive conduct constitutes exclusionary conduct within the meaning

of Section 2 of the Sherman Act.

       94.     There is a dangerous probability that Matson would succeed in monopolizing the

relevant markets through its anticompetitive conduct.

       95.     As a result of Matson’s conduct, and the harm to competition caused by the

conduct, APL has suffered substantial continuing injuries.




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                                        Prayer for Relief

       WHEREFORE, APL respectfully prays the Court enter a judgment against Matson and in

favor of APL as follows:

          a. award APL money damages, trebled pursuant to law in an amount to be proven at

              trial;

          b. award APL costs of this lawsuit, including its reasonable attorney fees and court

              costs;

          c. declare Matson’s anticompetitive conduct unlawful and in violation of the above-

              referenced statutes;

          d. enter appropriate preliminary and permanent injunctive relief barring Matson

              from continuing its anticompetitive conduct; and

          e. ordering such other relief as the Court may deem just, proper and equitable.

                                     Trial by Jury Demanded

       APL demands a trial by jury for all issues triable by a jury.

 Dated: July 28, 2021                             /s/ John R. Fornaciari
                                                  John R. Fornaciari (DC Bar 152801)

                                                  /s/ Danyll Foix
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